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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA                             1:21-CR-00371(BMC)

 v.

 RASHID SULTAN RASHID AL MALIK
 ALSHAHHI,
 THOMAS JOSEPH BARRACK and
 MATTHEW GRIMES,

                              Defendants.


      MOTION AND [PROPOSED] ORDER OF WITHDRAWAL AS COUNSEL OF
                              RECORD


        Pursuant to Local Criminal Rule 1.1(b) and Local Civil Rule 1.4, the undersigned

 respectfully requests the withdrawal of Paul Hastings, LLP as counsel of record for Defendant

 Thomas J. Barrack, Jr.    As demonstrated in the accompanying Declaration of Phara Serle

 Guberman, Mr. Barrack has requested that Paul Hastings withdraw from this matter. Paul Hastings

 consents to this withdrawal and respectfully requests that Phara Serle Guberman and Matthew J.

 Herrington (admitted pro hac vice) be removed as counsel of record for Mr. Barrack.
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 Dated: October 8, 2021                Respectfully submitted,


                                       /s/ Phara Serle Guberman
                                       Phara Serle Guberman
                                       Matthew J. Herrington
                                       PAUL HASTINGS LLP
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                                       matthewherrington@paulhastings.com



 ENTERED this ___ day of ____, 2021

 SO ORDERED




 __________________________
 Honorable Brian M. Cogan
 United States District Judge
